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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT COURT
CENTRAL ISLIP DIVISION
--------------------------------------------------x
In re

JESSICA BOISSARD                                                    Case: 8-18-77715-ast

                                   Debtor                           Chapter 7

---------------------------------------------------x

                      TRUSTEE’S AFFIRMATION IN OPPOSITION TO
                   SPECIALIZED LOAN SERVICING, LLC’s MOTION FOR
                   RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)

        R. Kenneth Barnard, Esq., an attorney duly admitted to practice law before the Courts of

the State of New York and the United States District Court for the Eastern District of New York

affirms, under penalty of perjury the following:

1.      On 11/15/18 (the “Filing Date”), the Debtor filed a voluntary Petition for relief pursuant

        to Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”). Thereupon,

        by Notice of Appointment, R. Kenneth Barnard, Esq., was appointed Chapter 7 Trustee of

        the estate (the “Trustee”) and has since duly qualified, and has served as the permanent

        Trustee in this case.

2.      I make this Affirmation in Opposition to the motion (the “SLS Motion”) of Specialized

        Loan Servicing, LLC [Dkt No. 20], seeking an order pursuant to 362(d)(1) & (2) of the

        Bankruptcy Code modifying the automatic stay so as to allow it to foreclose a purported

        mortgage on premises at 74Yarnell St, Brentwood, NY 11717 (the “Brentwood

        Property”), pursuant to a Judgment of Foreclosure and Sale (the “Judgment”). The

        Judgment was entered after the entry of an Order of the Supreme Court, Suffolk County

        granting summary judgment to the Mortgagee dismissing the mortgagors defenses under
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      NY RPAPL § 1304 and NY RPAPL § 1306 (the “Summary Judgment Order”).

3.    At the outset, I note that the moving papers were not received by my office. I became

      aware of the motion when notified by the Court’s ECF system, but did not receive service

      of a paper copy of the motion papers from the movant.

4.    Upon information and belief, both the Judgment and the Summary Judgment Order are on

      appeal (the “Appeals”) before the New York State Supreme Court, Appellate Division-

      Second Department (App. Div. No.. 2017-10725, 2017-10785, 2018-06948, 2018-

      07925). The Appeals challenge the bona fides of the foreclosure process and the

      mortgage, and seek reversal of the Summary Judgment Order and the Judgment. The

      Appeal from the Summary Judgment Order asserts that the foreclosure process was

      defective based upon the Plaintiff’s failure to comply with the requirements of NY

      RPAPL §1304 and NY RPAPL§1306, and if successful, could result in reversal, and

      dismissal of the foreclosure proceeding. The Appeal from the Judgment challenges the

      procedure employed by the Plaintiff in calculating the amount due, and if successful

      could result in reversal of the Judgment and/or re-calculation of the amount due.

5.    Further, in the event that the Appellate Division reverses the Summary Judgment Order

      and the Judgment, and dismisses the foreclosure action, the note holder may not be able

      to commence another action as the applicable statute of limitations has expired. See

      CPLR §213(4).

6.    In light of the pending Appeals, the Movant cannot demonstrate that it is not adequately

      protected as required for relief under §362(d)(1), or that the Debtor does not have equity

      in the property as required for relief under §362(d)((2)(A). United Companies

      FinancialCorporation V. Brantley, 6 B.R. 178 (Bankr., N.D. Florida, 1980) (“If, by reason
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       of an alleged violation of the statute of frauds, usury, unconscionability, lack of

       consideration, or other similar circumstance, the debt is unenforceable against the debtor,

       either in whole or in part, then, to such extent, the claim is not allowable under s

       502(b)(1). To the extent it is not allowable, it will not be a secured claim as determined

       under s 506 and thus will not require adequate protection for the value thereof under s

       362.”

       WHEREFORE, it is respectfully requested that the motion be denied in its entirety,

along with such other and further relief as to the Court seems just and proper.

Dated: February 4, 2019

                                              LAW OFFICES OF
                                              R. KENNETH BARNARD
                                              Attorneys for the Trustee

                                      By:     s/ R. Kenneth Barnard
                                              R. Kenneth Barnard
                                              3305 Jerusalem Avenue
                                              Suite 215
                                              Wantagh, New York 11793
                                              (516) 809-9397
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
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JESSICA BOISSARD
                                                           Case No.: 818-77715 ast

                           Debtor.
-------------------------------------------------------x

                                      CERTIFICATION OF SERVICE

        The undersigned, certifies that on February 4, 2019, I served a true copy of the

TRUSTEE’S AFFIRMATION IN OPPOSITION TO SPECIALIZED LOAN SERVICING, LLC’s

MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY) by regular mail by

placing a copy of the same in a sealed envelope, with postage prepaid thereon, and depositing it

in an official depository of the U.S. Postal Service within the State of New York, addressed to

those entities listed below:

Office of the United States Trustee                        Jessica Boissard
Long Island Federal Courthouse                             74 Yarnell Street
560 Federal Plaza                                          Brentwood, NY 11717
Central Islip, NY 11722-4456

Ernest E Ranalli, Esq.                                     Kozeny & McCubbin, L.C. LLC
The Ranalli Law Group PLLC                                 Attn: Wesley T. Kozeny, Esq.
742Veterans Memorial Highway,                              12400 Olive Blvd, Ste 555
Hauppauge, NY 11788                                        St. Louis, MO 63141


Dated: February 4, 2019
                                                                    /s/ R. Kenneth Barnard _
                                                                    R. KENNETH BARNARD
